            Case 23-02285-CL7             Filed 10/31/23        Entered 10/31/23 02:48:48              Doc 20       Pg. 1 of 1




                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA

In RE:             GEORGE M BARULICH                                  §           Case Number:       23-02285-CBL-7
                                                                      §
                   Debtor(s)                                          §           Chapter:       7

                                       REQUEST FOR NOTICE UNDER BANKRUPTCY RULE 2002
                PLEASE TAKE NOTICE THAT BMO Bank N.A. hereby gives notice as follows:
         Pursuant to 11 U.S.C. §342(f)(1), AIS Portfolio Services, LLC hereby requests that:
                (i)          all notices given or required to be given in the case; and
                (ii)         all pleadings and correspondence served or required to be served in this case,
         regarding BMO Bank N.A. should be directed to AIS Portfolio Services, LLC at the following mailing address effective
         immediately:

                Attn: BMO Bank N.A. Department
                AIS Portfolio Services, LLC
                Account: XXXXXX5154
                4515 N Santa Fe Ave. Dept. APS
                Oklahoma City, OK 73118

                 This request encompasses all notices, copies and pleadings referred to in Rules 2002, 9007 or 9008 of the
         Bankruptcy Rules, including, without limitation, notices of any Orders, Motions, Demands, Complaints, Petitions,
         Pleadings, Requests, Applications, Schedules, Statements, Plans, and any other documents brought before this court
         in this case, whether formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
         telecopier, telex, or otherwise which affects or seeks to affect the above case.

                                                                      Respectfully submitted,

                                                                      /s/ Amitkumar Sharma
                                                                      Amitkumar Sharma
                                                                      Claims Processor
                                                                      Bankruptcy Servicer for BMO Bank N.A.
                                                                      AIS Portfolio Services, LLC
                                                                      4515 N Santa Fe Ave. Dept. APS
                                                                      Oklahoma City, OK 73118
                                                                      (817)277-2011, Fax (817) 461-8070
                                                                      ECFNotices@aisinfo.com
                                                                      File # 1556250
